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                        I'NIIED SATtsS DISTRIqT COI'Rf,
                            DISTRICT OF MINNESOTA
                         Case No. 20.CR-181(2XPJSIBRT)

I'NIIED    STAftsS OF AI\4E,RICA

                      Plaidiq,                         PI,EAAGREEME}iITAI{D
                                                       SENIENCTNGSTIPI'I,ATIOI{]S


DAVON DE.ATiTDRE        fiIRI{F,&
                     Deftndani.

      The Uniteat States of Anerica anil itefendgnt DAVON DE-AlilDnE
                                                                     {URNER
(hereinafter refened to as ihe "ilefenilanf,) agree to resolv.e this case oo the terms

and. conditions   that 6l1ow. This plea agreenent binds only the ile&ndant anil the

United   States            OfEoe for the   Dishist oflvfinnesqta (hereinafter "the Urrited

States" or."the Crwernneof,).     .!tt" agreenent   <Ioes   not bintl any other United Statee

Attorne/s Office or ely orther$deralor state        ageDcy.

      1.     Charges. The defentlant aerce's to pleail guilty trt Couot One of the

Indich:nt    which chargps the d€&ndant with Conspiracy to Conmit ArsoD, in

violation of 18 U.S.C. $ 3?1. The ileftritart         fi:Iy   undergtands the natrue and.

elements of tbe crim,e with which he has been cbarged-

      2.     Factud Basis. lbe.de&ndent is pleading              guilbybecar:se he is in fast

guilty of Cornt One of the luilictuent. Inplbading gulty, the tle&uclant admits the

following facts antl tbat those facts establish his guilt beyond a reaeonable doubt and

constihrte rclevant cbduct pursuant to tbe Uniteil. States SentenciDg Guidelines:




                                                                                TEAHNED
                                                                                    JAil 22     ilnt
                                                                                 u.s.   DrsTRrclggllllglg
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      On or about IWay 28, 2020ithe ile&uilant, alons with others (oolleetively,.the

"co'conspiratorf), howingfu anil inteutionals conspire4 to dama& and deefuqy,
and attempt ip rlqrnsge and tlestnoy, by means of fire, the Mrrneapolb Police

Depatuent Thiral Prccinct polie station (lereener the                        third    Prccinst

headquartere), a buililing rrsed. in interstate or forcigo commeace anil           in acfivity
afiecting interstate or frreign @Ene!ce.

      It   was part of the couqfracy that on l\day 28, ?.O?.O,tle ilefendant and other

individuals gathered oeal the Ibtud               **"       headquafie$ located       at    3000

Minnebeha Avenue, lvfinneapolis,             in tbe Distdct of lvfinnesota anil tberesfter
collectively engageil      in   conduct desigoed      to rndiciously daoage or ilestroy tbe
buit, ilingbyneFns of      1fin".
       Tbe itefendart vohrni;arily aad inteatiogatly joineil       i1tb"   agreemeot witJr co-

conspirators, either at the tine it was first leached, or at some later time wbile it was

still in efrect. At the tine the defentlant joinetl inthe agreement tbe defeudant koew

the purpose of the agleeuen! which was to commit an act of arson at the Thfual
'Precinct heailqrrarters. Wlile the agreemeat was in eftct, the ile$nilant           and,   other

o-conspiraton comrnitterl, dircctly anil tb$rrgh others, certain overt acts, in

fi:rthelance 9f tbe oonspiracy and to achieve its objects, including but aot limited. to

the following:

       The defendant anived. alone in the area of the Thfuil Precioct headErarters

ilrrdng the   da-v on   il[ay   A\   2020.1he tle&ndant joined a number of otber protesters'

gatJremed outside       the thfud Precinct headErarters, engagpd, in a larydy peae,firl


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protest However ae the day trrmed.into w1ouS, tbe ate&adent and others at the

Thfud Pneciact headguarters becam,e mone agglessive. At one poinq tbe tteftodant

hearil manyprotesters sho'.rting,    arrnit dowa, bumit dowa,o re&rringto      the Third

Predlst headErarters. The ilefenilaat saw that a ftoe that            baat bee,n elected

surrorm{ing the thilil Precinct beadryarters was torn dom- Tte de&nilent joinert

meny others to breach the perimeter and, enter the Third. Precinct headquefiers

surtilagB and buililing.
      '    The ilefendant anil an individual unhowa to hirn af f[E tine, 0ater identifred

ae   code&udant Willians), assisted.by an unidentified, co-conspirator, worked togetber

to light an incendiary device which they intended. to be uieA to start or frrther
accelerate      a firc. the incendiaty ilevie was takeo into tbe .Tbid          Prccinct

headquarters by the defead.ant and was used to start a fire.

           Tlre Minneapolis Polie Department is an orepnization that participates      in
ide$tate @tnmerce. Specifically, the lvfinneapolis      Police Departuent and the City

of lvfinneapolis condust business inintergta.te @mmerce, for example bypurthaeing

vehides and o'ther equipment and srpplies tb$ugh iderstate oomnerce.                 lbe
activitiee of the lvfinneapolis Police Deparbent and. tbe City of Minneapolis

gbvenneut in enforcing lalps also afrest int€rstat€ commetla

           3.    Waiver of Pretrial Motions. The ile&ndant rrndewtands and agees

tbat the deftndant has cefiain dgbts to fiIe pe-tuial notions in this case. As part of

this plea agreemerr! and based rrpon the conessions of the United States within this

plea agrbemen! tJre deftnitant tnowingfy, wininely, and voluntarily gives up'tJre


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     dgbt to have any pending motions resolvetl,and to file aqy aililitional pe-trial

     motiong   in this case. The cteftndant aglees tbaq by pleatling              grrilty, he is

     withdrawirrg any motions previorrsly filed"

           4.     Waiver of ConstitntionalltialRights. The tlpfeuida$rmileretanrls

     that he bas tle dght to go to tdal At t'ial, the dd;&ndant would be presuDred

..   innosen! have the right to triatby jrry o,    #th    tbe consent qf the United States   ard
     of the Cout, to trial by the Court, the righfi to the assistance of oouasel, the right to

     confront and crcss-examine adveree wihesseq the right to subpoena wihesses to

     testi$ Sr tbe clefensg the rigbt to tpsti& and.present evidence, and the dght to be
     plotected.ftomcompelledself-iocrinination Thedefendantunderstandsthatbehas

     the right to an attomey at everystage ofthese proceeilingi an4 ifueceesar;r, one        will
     be appoiated to represent hirn. Tlrc rte&ndant understands that he hqn the right to

     persist in a plea of not guiluy an4 if he does so, he would have the rigbt to a public

     and speedy trial By pleading         grrilf, tbe tldeudant howingly, willingly,         and

     vohmtarily waives each of theee tuial rights,. except t,he right to         ounsel      Tlre

     de$ndent undergtanils -that a    pilty   plea is a.omplete and final admissioD of euilt

     aa4 ifthe Cou$    acoepts the   guiltyplea the Courtwilladjudgp the ileftodalt guilty

     without atuial

            5. Ailditional Consequences. The def,enrant rmderetande tbat as a
     rcsutt of his convicion, he   could. be assessed   the costs of plosectrtion and. eqrerience

     aanitionat @nsequenoes, such as tbe loss of the dght to cany firearms, the dght to

     vote, aad tbe r{gbt.to holdpublic ofrce.



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        6.      Statutor-y Penalties. the de&ndant rrnilerstands that Count One of

the Initictuieot     (Iitle   18, United Stabs Coile, Section S?1) is a felony ofbnse           that

ca$ies the'frllowing stahrtory penalties:

                         s   rnarinun   of 5 years inprison;
              -a..
                b.       a supewised release    tetn'   of not mthe   than   I   years;

                c.       a marimrrm fine of $26O000;

                &        aseessnent to the ilefenilant of the osts. of proseq*ioD'
                         imbrisonmeut anil strpervisioD, as ilefineili! 28 U.S-C- SS 19180)
                         and 1920;

                e.       a maadatoty speciatassessmeot of $100 uniler 18 U.S.C.
                         $ s013(a)(2XA);

                f.       nandatoryrcstitutioopursuantto          18 U-S.C- $ 36634.

        7.      RevocationofSupetriseilBelease. lbe itefendantrrnderstadsthet

if   he wele to violate any conditiou of supewiseil release, the ttefeoda+t inrild' be

 eentenced    to an adilitional teru' of imprisonmeut rrp to the length of the original

 zuperieed. release teru, sr:bject to the stahrt6ry marinrrms set fof,h iD 18 U.S.C.'

 s 8683.

         8.      Guidelines Calculatious.               tte    p:irties acloowtredge         lhat   the

.d€f€Dilant will be sentenced. in acoordance with 18 U.S.C. $ 355I,                d   q.   Nothing in

 this plea agreement shoufd be consrueil to limit the parties fron Feseoting any and

 all rclevant evidence to the Court at sentencing. lbe partiee also ackDowledge t'hat

 the Corrrt will congider t.he Uniteil States Sentencirg Guidelinesin iletenining tlrc

 appropr{ate sentence and stipulate to tJre Sllowing guiilelines calsulatims. Th'e

 parties stipulate to the fo[o;vring guialelines calsulations:
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                                                                i
           Baee Ofhnee L€veL The partiee aglee t.bet the base ofiense
           level is 24. U.S.S.G. $ 2X1.1(a) g 2K1.4(aX1). '

      b.   Soecific Ofieuse Characteristics. lbe parties aglee that tbat no
           specific oftnse &aracteristics apply.

           Ctapter   I   Adiushepts. the parties agre t$at other t.bsn'
           -aoceptance of rcsponsdbility, no other Chapter 3
                                                          adushentg
            applv.

           Accentance     of   Resoonsibilitv.   The gpvemnent agrees to
           recommeud that the ile&oilant receide a 2-level reduction fon
           acceptance of responsibility pursuent to U.S.S.G. $ S81.1(a). rls
           tbe ilefentlant'has tinely aotified the govemment of his inteation
           to enta' a plea of gul:Ity, the governnent agreee to reomnend
           that the ildenilant leceive an additional l-level       reduction
           pnrsuant to U.S.S.G. $ 381.1(b). TVhether these rcductions will
           be imposeil shall be iletcr-'ineil by the Court iD its disccetion
           Ilowever, the defendant understards and agees that the
           governnerf,s recommenilrtims ale conditioned qpon the
           following (1) the ddeuilant testiEee trutUrub druing the change
           of plea anil seotencing hearings; (2) the itefendant prwiiles firll,
           complete and hrtbfirl informatiou to the Uniteil States Plobatioa
           Ofioe in the pre-sentence investigation; aail (g) the tle&'ndant
           engagee in no condust inconsisteat with                            of
           rceponsibility before the time of sentencing, includins frivttrorrsly
           denying fects in the Pnesentence Report Nothing in tbis
           agrceqeut limits the riebt of the govecnmeut pursuant to
           U.S.S.G. $ 381.1 and/or $ 8C1.1 to eeek ilenid of a rednstion for
           acceptance of responsibility or an enhrncerneutfor obstrnstion of
           jrrstice should the defenilant Dove to withdraw his guilty plea
            afterit is eotcred-
            Crininal Estolr Cateeue. The parties believe tbat at the time
            of sentencing, tbe defendant will &Il into Climinal Eistory
            Category II. U.S.S.G. $ 4Af.f. Tbie does not constitrte a
            etilrulatioD, but a belief baseil on an assessment of the
            inforu,ation ornently known- .Ihe ile&ndalf,s acttral criminat
            history and relateat status will be ildtemineil by tbe Court baseil
            on the infornation presenfcd ia the Presentence Report and by
            the pariies at the time of sentencing. [he ilbfendant undenstands
            that if the plesentence iuvestigation rcveals any prior adult or
            jrrenrle sentence which sbould be incluiletl withir his crininal
            history 'under the U.S. Sentepcing Guidelines, the defeudant   will
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                   be seutenceit baseil on his true criminal         category, ald he
                   will noi be pemitteil to witf,draw ftom""*
                                                            this     Plea Aereement
                   u.s.s.G. $ 4a1.1.

                    Guidelirres Bans? (De&nse Positiod. If the a4iusteil ofbnse
                   @                           history categpry is tr, the
                    Serdencing Guiilelines ralge is 41-61months     of
                    imprisonment"

              g.    Fine Reage. If the adjustetl ofiense lEvel iB 21, the Sentencilg
                    Guidelinee fine range is $15,000-$150,000. U.S.S.G. $ 581.2(c).

              h.    SuoewisedRelease.lbe Sentencing Guiatelines reqrdrc a term of
                    supewisedrelease of atleast lyearup f,o E mq?itnu'n srrpervised
                    release tem of I years. US.S.G. $ 6D12(aX2).

      9.      Dlscretion of the Court the Srcg'oing stipulations ale binding ont'be
parties, but do not biDil the Probation Ofioe or the   Court   Tbe parties understand

that the Sentencing Guiiletines ale ailvisory aatttheii applicatiou is a Eat0er that

fallo solely withiDthe Courds iliscretion- lbe Courtwitr mahe its omr detetnination

regarding tbe applicable Guidelines bctors anil the applicable eciminnl history

category. The Court may also ilepart from the applicable Guidelines m.nge. If the'

Cou$ or tbe Probation Office iletemines that the applicable gtriileliDe calsrrlations

or the defendanf,e criminal bis0ory categpry is   iliftreut fron that stated above, the
parties nay   oot.itlA".-   from tLie agreenent, anil tJre defendant will'be seDtenced.

pr:rsuant to the Courfs ileteminations

       10.    A$eements as to Sentencing Recomnendation. The parties are
free to recom.meud whatever seotence the.f tleem appropriate. tbe parties lessrye

th€ right to o'ake a motion for ilEfrartues.ftom tJre applicable Guidelines range

pursuaat to 18 U.S.C. $ 3553(a), to oppose any such notion made by the opposing
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                 -t




*t
     pa$y,'and to a4ue for a sent€irce orutEide tbe applicable Grridelinee range. If the

     Court does not aocept the sentencing recommeudation of the partieg.the de&udant

     will have no right to withilraw his guiltyplea

           11.         Special Assesment The Guidelines'lequirc payuent of a speciel

     assessrient in the amormt of $100         Sr   each   ftlony connt of which the itef€Ddart is

     onvicte4 prrrzuart to Guidelirc $ 581.3. lbe de&ntlant agrees to paythe special

     asoeosment at tbe      tine   of senfencing.

            L2.        Restitution- lhe de&ndaat rrnilerrstanils anil agrees that         18 U.S.C. $

     8668, aoil the Mandratory        \. ctim Restihrtioa Act,   18 US.C. $ 36634 apply to this

     cdse and   tbat the Court is requireil to order the defenilant to make rcstitntioo to tJre

     victims of hie crimes. The deftndantagleesthatheowesrcgtitution. TheDefeadant

     agtees tbat tbe loss anount to the City oflvfinneapolis is S1aOOO,0OO. Based on tJris

     agreerhent, tJre parties waire any evitlentiary hearing on tbe issue of restihrtion-              the
     defenilant Desenreo his right to make legal argunents as to the anorrnt of restih$ion

     to be paid. by the defeoalalt.

            tbe       defendant represeuts tbat be      will fi:lly anil   comptretely disclose   to   tJre

     Unitetl Statee Attorne/s OfEce the existenoe and location of any assets in which the

     Defendant has any rigbt,        titlg cinterest.   The defendent agrlees to assist the Uniteit

     States in identifring, locating, rettrrning, anil transfruing assets for use in payment

     of restitution and fines orcleled by tbe Court As part of this Agreement the
     defendant        will conpletg under penalty of perjury, 's f,nanciel discbsure forn-
     provideil by the United States-Iisting             dl the atefenilads      assets and financid


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interests valuetl at DorE tban $1,000.        lte il€fenitant agres to proviile rrpilatee witb
aly natbrial    changes   in circumstances, as deecribeat in     18 U.S.C. $ 9664G),         whidr

oosur prior to seutencing,      srithb          ilaye of tbe event giring dse to tbe changed

cirqrnstalce. The deftndaat eryieeely auf.hcieE the U.S. Attorne/s Ofice to
obJain   a   cceclit report 6a him      to evaluate the ilefrudads ability to satis& aly
f,nsncial obligatiou irnFosed bytbe Corrt

         13. Forfeiture. lbe de&nilant aglees to forfeit to the Uniteal Statee,
pursuant to 18 U.S.C,       S   982(a)(2)(B), aay property constihrting, or derived. from'

proceeds obtaine4 itilestJy or indirectln as a result ofhis violation of 18 U.S.C. $ 8?1,

aad pusuant to 18 U.S.C. $ 84a(c) anil28 U.S.C. $ 2461(c), any erplosive materials

involve4 cuse4 orintendetttoberrse4 inthatviolation theUuitedStatesreser"ees

its right to seek a noney judgnent frr&iture, to fqrfeit substiEtrte               antl to   frdeit
                                                                         "t "t",
ary adilitionsl ilircctly fodeitable property.

         14.    Waivers of Appeal and Collateral Attac}l. the deftndant hercbv

waives tJre rightto appeal anynon-jrrrisilictiolalisstres. lbiB alrpealwaiverincludes,

but is not linited to, the ilefenilanf,e waiver of the right to appeal guilt or

geatence anit     restihrtioq    and.   the constihrtionality of the statutee. to which tJre

 rleftodant is pleading guilry. The parties aglee, however, that excludeit fton this

waiver is en appeal by ilefendant of tle substa$ive reasonablenees of a tern of

 imprieonment above the high        eod. of   the C'uidelines ralge detemineilby the dishict

 oorrrt. Ilre defeuilaat also waives tJre rigbt to petitioa rrnder 28 U.S.C.       S   2266 except

 basedqpon a claim of ineffective assistance of corrnseL


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            The ile&ntlad has discuseeil t.hese'dghts with the ile&nilaaf,s attorrey.     lbe
    deftndest untlerstatrds the rigbts being waive4 and the a"A"a"ot waives trese

xights howingly, intelligently, and.        volutarily.
            the Uniteit States agees to wabe its rigbtto appeal anysentene eNcept tbe
    govemmeDt may appeal the srrbstantive reasonableness of a tBm' oi inprisooneut

    belowthe low end of the eitriilelines ralg€ iletcminedbytbe distrist court.

            15.     FOIA Bequests. lbe ateftodaat waives alldghts to obtain, dircctly or

    thrcugh others, infornation about the iuvestigatioD aail pmsecutiou of this           case

    nnder the trbeedom of InfolmationAst and the PrivacyAct of         19744 5   U.S.C. $$ 55a



            16.     Conpletc Agreeneut. This, dong'with.aly agxeement signeal by tbe
    parties befrle eutry otth" pleq is tbe eutire agreeneot aoil unterstanding between

    the Unitedstates       aldthi   defruilaaL




               rl
    Date: t[2t       izt




    Date:
                                                      DEBORAEril.r.rs'
                                                      Corrnsel for Defenilant

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